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                                                   State of New Jersey
PHILIP D. MURPHY                                OFFICE OF THE ATTORNEY GENERAL                                      GURBIR S. GREWAL
    Governor                                  DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                        DIVISION OF LAW
SHEILA Y. OLIVER                                           25 MARKET STREET                                         MICHELLE L. MILLER
   Lt. Governor                                                  PO Box                                                   Director
                                                         TRENTON, NJ 08625-0


                                                   DEBORAH A. HAY, DAG
                                                      NJ Bar ID 020522011
                                                   Deborah.hay@law.njoag.gov

                                                           May 3, 2019

       VIA ECF
       Hon. Lois G. Goodman, U.S.M.J.
       UNITED STATES DISTRICT COURT
       Martin Luther King Building & U.S. Courthouse
       50 Walnut Street, Room 4015
       Newark, NJ 07101

                         Re:      LaFrankie-Pricipato v. New Jersey Board of Public Utilities, et al.
                                  Civil Action No. 18-CV-02258


       Dear Judge Goodman:

            This office represents Defendants in the above-referenced matter. As requested, the parties are

       submitting this joint letter to address outstanding discovery issues in this case. The parties have

       conferred and reached an agreement upon the majority of supplemental discovery requests. The

       parties’ respective positions on the two (2) outstanding discovery issues are below.

            1) Plaintiff’s Medical Records from Dr. Klien and Dr. Cooperstein

                    a. Defendants’ Position

                  In this matter, Plaintiff seeks damages for emotional distress as result of the alleged actions

       of Defendants, but is attempting to deny Defendants access to her mental health treatment records.

       Defendant is entitled to inquire into the nature of Plaintiff’s emotional distress, and whether it was



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caused by a source other than Defendant. Plaintiff’s medical records are relevant to the issues in

this case and Plaintiff’s objections to disclosure are not supportable, if she intends to continue to

pursue emotional distress damages in this matter.

       In her deposition, Plaintiff testified that she was treating with Dr. Cooperstein, a

psychiatrist, and that Dr. Cooperstein referred her to Shari Botwin, a social worker. Ms. Botwin’s

name was provided in discovery in this case, as a medical provider having treated Plaintiff for

emotional distress. In addition, notes from Plaintiff’s treatment with Ms. Botwin were produced

in discovery by Plaintiff (bates labeled S. LaFrankie-Principato 0001) and Dr. Cooperstein is

referenced in those notes. However, when the defense questioned the Plaintiff regarding the nature

of her treatment with Dr. Cooperstein, Plaintiff’s counsel improperly instructed his client not to

answer. The defense also attempted to inquire about Plaintiff’s treatment with Dr. Barbara Klein,

a psychotherapist, who is also referenced in the notes Plaintiff produced from Ms. Botwin (bates

labeled S. LaFrankie-Principato 0001). Again, Plaintiff’s counsel improperly instructed his client

not to answer questions regarding her treatment. The information sought by Defendants was both

relevant and likely to lead to admissible evidence in this matter.

       New Jersey courts have repeatedly upheld the principle that a plaintiff’s medical history is

discoverable when the plaintiff has put his or her medical or psychological condition at issue in

litigation. See Stigliano by Stigliano v. Connaught Laboratories, Inc., 140 N.J. 305, 311 (1995) (a

privilege should not be allowed to “frustrate discovery” or “hide the truth”); see also Stempler v.

Speidell, 100 N.J. 368, 373 (1985) (“instituting suit extinguishes the privilege to the extent that

[plaintiff’s] medical condition will be a factor in the litigation”); see also Jackson v. Chubb Corp.,

193 F.R.D. 216, 226 (D.N.J. 2000) (finding that "[i]n the interests of justice, the broader 'at issue'

approach caters to both the plaintiff's and the defendant's respective interests in a lawsuit and
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embraces the reality that a party to a lawsuit must always choose which claims or defenses to

pursue and which ones to forego, recognizing that the success of certain claims and defenses hinges

on disclosure of confidential personal or financial information, as well as waiver of certain

privileges.").

        Since Plaintiff is seeking emotional distress damages, she has put her mental state at issue

in this case. Defendants are entitled to relevant discovery related to her treatment to determine

whether Defendants’ actions caused her emotional distress or whether some underlying condition

caused her emotional distress. Plaintiff was receiving treatment for other psychiatric issues or

unrelated stressors and that information is entirely relevant to determining if Plaintiff’s emotional

distress was caused by Defendants in this case. Thus, Defendants request that the Court order

Plaintiff to produce medical records regarding her own treatment with Dr. Barbara Klein and Dr.

Heidi Cooperstein or, in the alternative, dismiss Plaintiff’s claim for emotional distress damages,

as Defendants have no meaningful opportunity to defend against it.

           b. Plaintiff’s Position

    The mere fact that Plaintiff is seeking statutorily defined damages for emotional pain and

suffering does not entitle defense counsel and the defendants to go on a fishing expedition through

her medical history. The Plaintiff specifically testified that she did not seek treatment relevant to

this matter with either of the requested doctors. Notably, Plaintiff only seeks damages under the

NJFLA and not the FMLA. The NJFLA emotional pain and suffering damages are akin to those

typically available under the New Jersey Law Against Discrimination (“LAD”). N.J.S.A. 34:11B-

11 (adopting damages of the LAD at N.J.S.A. 10:5-17). The only damages that Plaintiff is seeking

in that regard are “statutory” or “garden variety.” Plaintiff has not and does not intend to produce

any expert testimony.
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   In creating the LAD, the New Jersey State Legislature found that certain “statutory” or what

have been referred to as “garden variety” emotional distress damages occurred as a result of

employment discrimination. For the purpose of this brief Plaintiff will refer to these as

“statutory” emotional distress damages. The LAD states:

       The Legislature further finds that because of discrimination, people suffer personal
       hardships, and the State suffers a grievous harm. The personal hardships include:
       economic loss; time loss; physical and emotional stress; and in some cases severe
       emotional trauma, illness, homelessness or other irreparable harm resulting from
       the strain of employment controversies; relocation, search and moving difficulties;
       anxiety caused by lack of information, uncertainty, and resultant planning
       difficulty; career, education, family and social disruption; and adjustment
       problems, which particularly impact on those protected by this act. Such harms
       have, under the common law, given rise to legal remedies, including compensatory
       and punitive damages. The Legislature intends that such damages be available to
       all persons protected by this act and that this act shall be liberally construed in
       combination with other protections available under the laws of this State.

N.J.S.A. § 10:5-3 (emphasis added).

       In defining the statutory damages, the New Jersey Supreme Court has held that “To

suffer humiliation, embarrassment and indignity is by definition to suffer emotional distress.”

Tarr v. Ciasulli, 181 N.J. 70, 81 (2004). The court has held that statutory emotional distress in

LAD cases does not require medical or expert testimony. Id. The court reasoned that

“Emotional distress actually suffered in that manner by the victim of proscribed discrimination is

compensable without corroborative proof, permanency of response, or other physical or

psychological symptoms rendering the emotional distress severe or substantial.” Id.

(emphasis added). The court in Tarr reasoned that “we are satisfied that compensatory damages

for emotional distress, including humiliation and indignity resulting from willful discriminatory

conduct, are remedies that require a far less stringent standard of proof than that required for a

tort-based emotional distress cause of action.” Id. at 82 (emphasis added).
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       The New Jersey Supreme Court also held in Battaglia v. United Parcel Serv., Inc., 214

N.J. 518 (2013) that statutory emotional distress damages can be established simply by the

plaintiff’s testimony. The court held that:

       This Court has long recognized plaintiff's right to recover for emotional distress in
       litigation brought pursuant to the LAD, and to do so without resort to expert
       testimony. We have commented that given the breadth of individual and societal
       harms that flow from discrimination and harassment, to limit the LAD's application
       to only those cases in which the victim suffered, or could have suffered, serious
       psychological harm would be contrary to its remedial purpose.

Id. at 552 (emphasis added). The court reasoned that statutory emotional distress can be

established by “lay testimony alone” while in order to establish “severe emotional” or physical

distress, such as future damage, the plaintiff must provide additional corroborative evidence. Id.

at 553-54.

       Again recently in the matter of Cuevas v. Wentworth Grp., 226 N.J. 480 (2016) the New

Jersey Supreme Court held that statutory emotional distress under LAD is the type established

without introducing additional psychological or medical evidence of harm. Id. at 511-12. The

court held as follows in Cuevas:

       In passing the LAD, the Legislature specifically found that victims of
       discrimination “suffer personal hardships” among which are “physical and
       emotional stress”; “severe emotional trauma”; “anxiety”; and “career, ... family and
       social disruption.” N.J.S.A. 10:5-3. The Legislature understood the psychological
       toll that discrimination may have on victims.
       ....
       Indeed, “the Legislature intended victims of discrimination to obtain redress for
       mental anguish [and] embarrassment,” even when their emotional and physical
       ailments cannot be characterized as severe. Tarr, supra, 181 N.J. at 81, 853 A.2d
       921. Because of the special harm caused by willful discrimination in the workplace,
       “compensatory damages for emotional distress, including humiliation and indignity
       ..., are remedies that require a far less stringent standard of proof than that required
       for a tort-based emotional distress cause of action.” Id. at 82, 853 A.2d 921.
       Specifically, in a LAD case, a plaintiff is not required to provide “expert
       testimony or independent corroborative evidence ... to support [an] award of
       emotional distress damages.” Id. at 79, 853 A.2d 921 (citing Rendine, supra, 141
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       N.J. at 312, 661 A.2d 1202). Plaintiffs in this case were entitled to “recover all
       natural consequences of [defendants'] wrongful conduct, including emotional
       distress and mental anguish damages arising out of embarrassment, humiliation,
       and other intangible injuries.”

Id. (emphasis added).

       The New Jersey state legislature and New Jersey Supreme Court have established that a

plaintiff in a LAD case is entitled to statutory or garden variety emotional distress damages that

can be established with lay testimony. See N.J.S.A. § 10:5-3; accord Battaglia, 214 N.J. at 553-

54. In order to establish “severe” emotional distress, the type that may continue in the future, a

plaintiff must introduce independent medical, psychiatric or other expert testimony to support it.

See Battaglia, 214 N.J. at 553-54.

   The New Jersey District Court has held a plaintiff does not waive privilege when he brings a

claim for statutory or garden variety emotional distress in a civil rights case. For example, in

Jackson v. Chubb Corp., 193 F.R.D. 216 (D.N.J. 2000) the New Jersey District Court held that

the plaintiff waived her psychiatrist-patient privilege because she alleged more than “garden

variety” or statutory emotional distress. The court held that “This Court concludes that when a

plaintiff places his/her current mental condition at issue, by asserting other than a ‘garden

variety’ anxiety claim, the psychotherapist-patient privilege to current and ongoing mental

health records is waived.” Id. at 227 (emphasis added). The court reasoned that the plaintiff did

not assert only a statutory or garden variety emotional distress claim because “plaintiff clearly

intends to use these psychotherapist/patient communications as evidence, in furtherance of her

claims of emotional distress. She has not only injected her more recent symptoms and newly-

diagnosed disorders into the case through Dr. Peckman, but she has insisted on maintaining and

supporting her allegations of continuing severe distress.” Id.
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       Other federal courts have found no waiver exists where a plaintiff alleged only statutory

or garden variety emotional distress. For example, in E.E.O.C. v. Nichols Gas & Oil, Inc., 256

F.R.D. 114 (W.D.N.Y. 2009) the plaintiffs made sexual harassment claims and the defendants

filed a motion to compel “Any and all documents directly or indirectly relating to the

examination, diagnosis, or treatment of each and every claimant by a physician, psychiatrist,

psychologist, social worker, counselor or other medical or mental health practitioner who

examined, diagnosed or treated each and every claimant since January 1, 1999.” 256 F.R.D at

116. The court denied the defendant’s motion. In doing so, the court recognized the second

circuit’s holding in In re Sims, 534 F.3d 117, 141 (2d Cir. 2008) that where a party makes a

claim for “garden variety” emotional distress the party does not waive doctor-patient privilege.

See Nicholas Gas, 256 F.R.D. at 121.

       In Fitzgerald v. Cassil, 216 F.R.D. 632 (N.D. Cal. 2003) the plaintiffs brought a claim for

discrimination based on familial status. Id. at 633. The plaintiffs alleged they “suffered

emotional distress and attendant bodily injury as a result of Defendants' conduct.” Id. The

defendants then served subpoenas seeking medical and psychological records of the plaintiffs,

which the plaintiffs moved to quash. Id. The court granted the plaintiffs’ motion. The court

reasoned that “for policy reasons, a waiver of the psychotherapist-patient privilege should not be

narrowly construed, particularly in civil rights cases where Congress has placed much

importance on litigants' access to the courts and the remedial nature of such suits.” Id. at 639. In

applying the facts of that case, the Fitzgerald court reasoned as follows:

       Plaintiffs have not waived the psychotherapist-patient privilege. Plaintiffs have
       stipulated that they will not affirmatively rely on any treating psychotherapist or
       other expert to prove the emotional distress damages suffered by Mr. Fitzgerald and
       Mr. Yu. The Court notes that, even if the middle ground approach to waiver (i.e.,
       “garden-variety” emotional distress) were applied, no waiver would be found in the
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        instant case. Plaintiffs have not pled a cause of action for intentional or negligent
        infliction of emotional distress and have not alleged a specific psychiatric injury or
        disorder or unusually severe emotional distress extraordinary in light of the
        allegations.
Id. at 639-40.

       Even when a plaintiff alleges a specific psychiatric injury (unlike the Plaintiff in this

case), courts do not invariably order the disclosure of all of the plaintiff’s medical records. For

example, Broderick v. Shad, 117 F.R.D. 306 (D.D.C. 1987) was a Title VII sex discrimination

and harassment case. Unlike this case, the plaintiff in Broderick alleged “severe psychological

stress.” Id. at 309. On that basis, the defendant sought the disclosure of plaintiff’s medical

records covering an eleven year period. Id. The court denied the request. Id. The court held

that

       The focus of this action is not on plaintiff's physical or mental injuries, but rather
       on the alleged discrimination and harassment by the SEC. Since Broderick has
       offered a sworn statement that she has not sought or received medical treatment for
       the conditions alleged in of her complaint and that no relevant medical records
       exist, we deny as irrelevant and intrusive defendant's motion to compel a wholesale
       investigation of plaintiff's medical history over the past 11 years.

Id. In Smith v. J.I. Case Corp., 163 F.R.D. 229 (E.D. Pa. 1995), a products liability action, even

though the plaintiff admittedly had seen a psychologist the court still held that the records of the

treatment were not discoverable. Id. at 232. The court held that “Any psychiatric disorders

from which plaintiff has suffered are not relevant to this case . . . so long as plaintiff does not

claim that psychological treatment for the ‘embarrassment’ which he suffers as a result of his

injury is compensable, I shall not require him to provide defendant with records of therapy

sessions in which he discussed this issue.” Id.

    Finally, the case cited by Defendant in its email, Stigliano by Stigliano v. Connaught Labs.,

Inc., 140 N.J. 305 (1995), supports Plaintiff’s argument that doctor-patient privileged is only
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waived where the plaintiff seeks to use medical records to support his claim. Unlike this case,

Stigliano was a medical malpractice case where the plaintiff’s seizure disorder was the subject of

the lawsuit. Id. at 307. Also unlike this case, the plaintiff did not “challenge the waiver of the

privilege concerning treatment and diagnosis of [the plaintiff’s] seizure disorder” and conceded

“that the treating doctors may testify as fact witnesses about their examination and diagnoses of

[the plaintiff’s] condition.” Id. at 312. The only argument the plaintiff made was that the

defendants could not “elicit causation testimony from those doctors.” Id. The court held that

because the plaintiff waived the privilege as to the doctor’s examination and diagnoses – unlike

this case – the plaintiff also waived privilege as to causation. Id. The obvious difference

between this case and Stigliano is that Plaintiff is not affirmatively introducing medical or

psychiatric evidence to support any of his claims. Therefore, she has not waived privilege as the

plaintiff did in Stigliano.   Plaintiff will concede that she will not call Ms. Botwin as a witness

at the time of trial and will not seek to use in evidence her one page of records.

    The prevailing holding of courts addressing the issue is that if a plaintiff only alleges statutory

or garden variety emotional distress for humiliation, embarrassment and indignity, and does not

attempt to introduce medical or psychiatric evidence to support the claim, the plaintiff has not put

her mental state at issue and waived privilege. Accordingly, Plaintiff respectfully requests that

Defendants’ request for medical records be denied.

    2) Plaintiff’s Son’s Medical Records from September 13, 2016

           a. Defendants’ Position

        After Plaintiff’s deposition, Defendant’s sent a letter requesting Plaintiff’s son’s medical

records from his emergency room visit on or about September 13, 2016. During her deposition,

Plaintiff testified that her son visited the emergency room on or about September 13, 2016. She
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 further indicated that she had obtained medical records from her son’s trip to the emergency room

 on that date. This trip the emergency room is particularly significant in this case because Plaintiff

 testified that she made her decision to take FMLA leave to care for her son right after that ER visit.

 In addition, it is alleged by Plaintiff that the ER visit occurred the day before Plaintiff submitted

 her application for FMLA, September 14, 2016.

        While Defendants are not seeking broad discovery regarding the nature of Plaintiff’s son

 condition, arguably Plaintiff has already waived any right to privacy regarding her son’s records

 by producing some of her son’s medical records in discovery in this case. In fact, over three

 hundred (300) pages of Plaintiff’s son’s medical records, dating between 2014 and 2017, were

 produced in discovery by Plaintiff (bates labeled S. LaFrankie-Principato 00002-00359).

 However, the medical records from the emergency room visit on September 13, 2016, which

 Plaintiff testified that she obtained, are inexplicably missing. These records are relevant and

 necessary for Defendants to test the credibility of Plaintiff’s claims in this case.

        Discovery is governed by Fed. R. Civ. P. 26, which states that “[p]arties may obtain

 discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense…

 Information within this scope of discovery need not be admissible at trial to be discoverable.”

 “The broad scope of discovery rules and the liberal interpretation given them by the courts

 demonstrates that Congress realized that a ‘mutual knowledge of all the relevant facts gathered by

 both parties is essential to proper litigation.’” Lesal Interiors v. Resolution Trust Corp., 153 F.R.D.

 552, 560 (1994), quoting Hickman v. Taylor, 329 U.S. 495, 507-508 (1947). In light of the timing

 of this particular emergency room visit and the nature of the Plaintiff’s claims, Defendants

 respectfully request that the Court order the Plaintiff to produce a copy of her son’s medical records

 from that specific ER visit.
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            b. Plaintiff’s Position

     Plaintiff objects to the request for any further medical documentation relating to the care of a

 non-party to this litigation. The claims before the Court concern whether or not Defendants

 terminated Plaintiff’s employment in order to interfere with her ability to exercise FMLA and/or

 NJFLA leave. The hospital visit of a third party is of absolutely no relevance to assess the

 Defendants’ motivation in terminating Plaintiff’s employment. Plaintiff has already provided all

 of the medical records that supported her need for FMLA and NJFLA leave. Other medical records

 have no relevancy and are invasive of a non-party’s medical privacy. Although Plaintiff is the

 third party’s mother she is not in a position to obtain or release her son’s medical records without

 his consent.

     Fed. R. Civ. Pro. 26, which governs discovery, was recently amended. Rule 26(b)(1) now

 includes a discussion of proportionality, stating:

     Parties may obtain discovery regarding any nonprivileged matter that is relevant to any party's

 claim or defense and proportional to the needs of the case, considering the importance of the issues

 at stake in the action, the amount in controversy, the parties' relative access to relevant information,

 the parties' resources, the importance of the discovery in resolving the issues, and whether the

 burden or expense of the proposed discovery outweighs its likely benefit.

     As Chief Justice Roberts wrote of these amendments, “[t]he key here is careful and realistic

 assessment of actual need” that may “require the active involvement of a neutral arbiter—the

 federal judge—to guide decisions respecting the scope of discovery.” Chief Justice John Roberts,

 “2015 Year–End Report on the Federal Judiciary,” Dec. 31, 2015 (Roberts Report), at 7, available

 at http://www.supremecourt.gov/publicinfo/year-end/2015year-endreport.pdf.
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    Plaintiff’s son’s medical records are, in fact, privileged under the physician-patient privilege.

 “The traditional justification for the physician-patient privilege is that it encourages patients to

 disclose freely information needed for the diagnosis and treatment of disease and injury.” Stigliano

 by Stigliano v. Connaught Laboratories, Inc., 140 N.J. 305, 310-11 (1995) (citing State v.

 Schreiber, 122 N.J. 579, 587 (1991); McCormick, Handbook of the Law of Evidence § 103 at 84

 (4th ed. 1992) ). See also Fed. R. Evidence 501. There is simply no basis to further invade the

 privilege of a non-party. As such, Plaintiff respectfully requests that that this request be denied.

    Thank you for your consideration in this matter.

                                               Respectfully submitted,

                                               GURBIR S. GREWAL
                                               ATTORNEY GENERAL OF NEW JERSEY

                                        By:    /s/ Deborah A. Hay
                                               Deborah A. Hay, Deputy Attorney General

                                               COSTELLO & MAINS, LLC

                                        By:    /s/ Daniel T. Silverman
                                               Daniel T. Silverman, Esq.
